                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

GUADALUPE ADAMS, Individually,                       )
                                                     )
                              Plaintiff,             )
                                                     )
v.                                                   )        Case No. 6:15-CV-3273
                                                     )
KICKAPOO CORNERS, LLC,                               )
                                                     )
                              Defendant.             )

     SECOND MOTION FOR EXTENSION OF TIME TO RESPOND PLAINTIFF’S
                           COMPLAINT

       COMES NOW Defendant, Kickapoo Corners, LLC, by and through its attorneys of

record, Carnahan, Evans, Cantwell & Brown, P.C., and for its Second Motion for Extension of

Time to Respond to Plaintiff’s Complaint, state as follows:

       This case is preliminarily settled. The parties are in the process of working out the details

of the preliminary settlement. Defendant therefore requests an additional 30 days up to and

including September 8, 2015 to answer or otherwise respond to the Complaint. Defendant

anticipates that the case will be dismissed with prejudice prior to that time. Plaintiff consents to

the filing of this Motion.

       WHEREFORE, Defendant respectfully requests that the Court grant its Second Motion

for Extension of Time to Respond to Plaintiff’s Complaint, up to and including September 8,

2015; and for such other and further relief as this Court deems just and proper.




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                                            Respectfully submitted,

                                            /s/ Richard B. Maltby
                                            Richard B. Maltby
                                            Missouri Bar No. 54003


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                               CERTIFICATE OF SERVICE

         The undersigned certifies that a complete copy of the foregoing was filed with the Court
via the ECF system and served upon Pete M. Monismith, attorney for Plaintiff, via U.S. Mail, on
the 5th day of August, 2015.

                                            /s/ Richard B. Maltby
                                            ___________________________________
                                            Attorney of Record




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